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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

 GLORIA MITCHELL, individually and on                 Case No. 1:16-cv-00076-BLW
 behalf of all other similarly situated,

                    Plaintiff,                        ORDER TO EXTEND TIME FOR
                                                      DEFENDANT TO FILE A REPLY IN
        v.                                            SUPPORT OF DEFENDANT’S
                                                      MOTION TO DISMISS PLAINTIFF’S
 WINCO FOODS, LLC, a Delaware limited                 SECOND AMENDED COMPLAINT
 liability company,                                

                    Defendant. 


       Pursuant to the parties’ Stipulation and for good cause appearing,

       IT IS HEREBY ORDERED that the parties’ Stipulation to Extend Time for Defendant

WinCo Foods, LLC, to File a Reply in Support of Defendant’s Motion to Dismiss Plaintiff

Gloria Mitchell’s Second Amended Complaint is GRANTED.

       IT IS FURTHER ORDERED that Defendant shall have up to and including April 11,

2019, to file a Reply in support of Defendant’s Motion to Dismiss Plaintiff’s Second Amended

Complaint.



                                                        DATED: March 25, 2019
                                               

                                                        _________________________
                                                        B. Lynn Winmill
                                                        U.S. District Court Judge
